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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      No. 21-cr-332-PLF-1
                                              :
PAUL RUSSELL JOHNSON                          :
                                              :
               and                            :
                                              :
STEPHEN CHASE RANDOLPH,                       :
                                              :
                       Defendants.            :


  GOVERNMENT’S OPPOSITION TO DEFENDANT PAUL RUSSELL JOHNSON’S
   “MOTION TO SEVER AND PRELIMINARY RESPONSE TO GOVERNMENT’S
     SEPTEMBER 22, 2021 FILING REGARDING THE SPEEDY TRIAL ACT”

       The United States files this opposition to defendant Paul Russell Johnson’s “Motion to

Sever and Preliminary Response to Government’s September 22, 2021 Filing Regarding the

Speedy Trial Act.” ECF No. 43. For the reasons set forth below, the Court should deny the

defendant’s severance motion and exclude time under the Speedy Trial Act pursuant to 18 U.S.C.

§ 3161(h)(6) and (h)(7).

                                 FACTUAL BACKGROUND

       Paul Russell Johnson (“Johnson”) and Stephen Chase Randolph (“Randolph”) jointly and

unlawfully entered the restricted grounds of the United States Capitol on January 6, 2021, then

jointly, with their fellow rioters, toppled a police barricade, causing a police officer to fall

backwards and suffer a concussion. Because the same evidence established their individual

crimes, the grand jury jointly indicted them for

   •   one count of civil disorder, in violation of 18 U.S.C. § 231(a)(3);
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   •   one count of obstructing an official proceeding, in violation of 18 U.S.C. §§ 1512(c)(2)

       and 2;

   •   one count of assaulting, resisting, or impeding a federal officer using a dangerous weapon

       and inflicting bodily injury, in violation of 18 U.S.C. § 111(a)(1), (b) and 2;

   •   one count of entering and remaining in a restricted building or grounds with a deadly or

       dangerous weapon, in violation of 18 U.S.C. § 1752(a)(1), (b)(1)(A);

   •   one count of disorderly and disruptive conduct within the Capitol grounds with a deadly or

       dangerous weapon, in violation of 18 U.S.C. § 1752(a)(2), (b)(1)(A);

   •   one count of engaging in physical violence in a restricted building or grounds with a deadly

       or dangerous weapon, resulting in significant bodily injury, in violation of 18 U.S.C. §

       1752(a)(4), (b)(1)(A), (b)(1)(B), and 2;

   •   and two misdemeanor offenses under 40 U.S.C. § 5104(e)(2).

ECF No. 15. Randolph alone is charged with an additional count of assaulting, resisting, or

impeding certain officers, in violation of 18 U.S.C. § 111(a)(1). Id.

       Johnson and Randolph were among a crowd of rioters who worked together to push a set

of heavy, interlocking metal crowd control barricades into a line of U.S. Capitol Police (“USCP”)

Officers, causing USCP Officer C.E. to fall backward, hit the stairs behind her, and suffer a

concussion. Once Officer C.E. was knocked down, Randolph climbed over the metal barricade

and began attacking USCP Officer D.C. As Randolph attacked Officer D.C., Johnson continued

pushing the metal barricades to the ground so that the rioters standing behind him could more

easily trample over the barricades and advance forward toward the U.S. Capitol Building. 1



       1
         The government’s opposition to Johnson’s motion to modify his conditions of release
contains a detailed recitation of his alleged conduct. ECF No. 34, at 2-15. The government’s
                                                     2
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       The assaults of Officer C.E. and Officer D.C. occurred within seconds of one another and

are depicted in the same open-source videos from January 6, 2021. Both Johnson and Randolph

are plainly visible in these open-source videos – before, during, and after each assault. While

Randolph cannot be heard in any of these videos, Johnson can be seen and heard shouting (through

a megaphone): “Where ya at? Where’s it at? Get on the front line. 1776 this fence right here.

You think George Washington would be standing behind this motherf**er.” Johnson can also be

heard shouting, “Let’s go! F*** this sh*t. We pay your bills, you back the f*** off,” as he

approaches the line of USCP officers. 2

                                  APPLICABLE AUTHORITY

       In cases with multiple defendants, the “weight of authority in this circuit and elsewhere

regards Rule 8(b) as providing the sole standard for determining the permissibility of joinder of

offenses.” United States v. Wilson, 26 F.3d 142, 153 n.4 (D.C. Cir. 1994) (citations omitted); see

also United States v. Perry, 731 F.2d 985, 989 (D.C. Cir. 1984); United States v. Jackson, 562

F.2d 789, 793-94 (D.C. Cir. 1977). Rule 8(b) permits joinder of defendants “alleged to have

participated in the same act or transaction, or in the same series of acts or transactions, constituting

an offense or offenses.” Fed. R. Crim. P. 8(b). This circuit construes Rule 8(b) broadly in favor

of joinder. See United States v. Nicely, 922 F.2d 850, 853 (D.C. Cir. 1991) (“[T]his circuit’s law

makes it difficult to prevail on a claim that there has been a misjoinder under Rule 8(b).”).




opposition to Randolph’s motion to revoke his detention order provides that same. ECF No. 27,
at 3-8.
        2
          The government’s opposition to Johnson’s motion to modify his conditions of release
contains a detailed recitation of his alleged conduct. ECF No. 34, at 2-15. The government’s
opposition to Randolph’s motion to revoke his detention order provides that same. ECF No. 27,
at 3-8.
                                                       3
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       Motions for severance of properly joined defendants should be granted only where the

dominant public interest in joint trials is outweighed by substantial prejudice arising from case-

specific problems. See United States v. Tucker, --- F.4th ---, No. 19-3042, 2021 WL 3950864, at

*12 (D.C. Cir. Sept. 3, 2021) (per curiam) (“Joint trials are preferred in federal criminal cases

because they ‘promote efficiency and serve the interests of justice by avoiding the scandal and

inequity of inconsistent verdicts.’” (quoting Zafiro v. United States, 506 U.S. 534, 537 (1993))).

“The preference for joint trials is especially strong when the respective charges require

presentation of much the same evidence, testimony of the same witnesses, and involve . . .

defendants who are charged, inter alia, with participating in the same illegal acts.” Id. at *12

(internal quotation marks and citation omitted).

       Pursuant to Rule 14(a) of the Federal Rules of Criminal Procedure, “[i]f the joinder of . . .

defendants in an indictment . . . appears to prejudice a defendant . . . the court may . . . sever the

defendants’ trials, or provide any other relief that justice requires.” Fed. R. Crim. P. 14(a). The

Supreme Court defines prejudice as “a serious risk that a joint trial would compromise a specific

trial right of one of the defendants, or prevent the jury from making a reliable judgment about guilt

or innocence.” Zafiro, 506 U.S. at 539. The D.C. Circuit has identified certain reasons why a

defendant may be prejudiced by joinder, including: (1) the defendant’s embarrassment or

confoundment in presenting separate defenses, (2) the jury’s possible use of the evidence of one

of the crimes charged to infer a criminal disposition on the part of the defendant, from which is

found his guilt of the other crime or crimes charged, or (3) the jury’s possible accumulation of the

evidence of various crimes charged to find guilt when, if considered separately, the jury would not

so find. Drew v. United States, 331 F.2d 85, 88 (D.C. Cir. 1964).




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       Even if prejudice is shown, the “permissive language of [Rule 14] makes clear that

severance is not required.” Tucker, 2021 WL 3950864, at *12. Instead, Rule 14 grants a district

court “‘significant flexibility to determine how to remedy any potential risk of prejudice posed by

joinder of multiple defendants in a single trial.’” Id. (quoting United States v. Moore, 651 F.3d

30, 95 (D.C. Cir. 2011) (per curiam)). Thus, “even in cases where the risk of prejudice is high,

‘less drastic measures, such as limiting instructions, often will suffice to cure any risk of

prejudice.’” Id. (quoting Zafiro, 506 U.S. at 539).       “The defendant carries the burden of

demonstrating prejudice resulting from a failure to sever.” United States v. Gooch, 665 F.3d 1318,

1326 (D.C. Cir. 2012)

       In light of these principles, “severance is the exception rather than the rule,” and “motions

to sever should be granted ‘sparingly.’” Tucker, 2021 WL 3950864, at *12 (quoting United States

v. Celis, 608 F.3d 818, 844 (D.C. Cir. 2010) (per curiam)).

                                         ARGUMENT

I.     Joinder of the charges against these codefendants does not unfairly prejudice
       Johnson.

       Johnson does not allege that he was improperly joined with Randolph under Rule 8. Thus,

the only issue before this Court is whether a joint trial would either compromise a specific trial

right of Johnson’s or prevent the jury from making a reliable judgment about Johnson’s guilt or

innocence. Johnson’s Sixth Amendment right to a speedy trial has not been compromised by his

joinder with Randolph. Nor has Johnson demonstrated substantial trial prejudice to warrant

severance under Rule 14. To the extent there is any prejudice to Johnson as a result of his joinder

with Randolph, a limiting instruction would sufficiently reduce any potential prejudice from the

additional count in which Johnson is not charged.




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                 A. Denial of Johnson’s severance motion will not result in a violation of his
                    Sixth Amendment right to a speedy trial.

          Johnson first contends that severance is necessary to preserve his Sixth Amendment right

to a speedy trial. (Dkt. 43, at 5-6). This argument is without merit because there has been no

violation of Johnson’s speedy trial right under the Speedy Trial Act, much less his speedy trial

right under the Sixth Amendment. Thus, Johnson cannot claim that a joint trial will compromise

his right to a speedy trial.

          While the absence of a Speedy Trial Act violation “does not ipso facto defeat a Sixth

Amendment speedy trial claim,” it is an “unusual case in which the [Speedy Trial] Act is followed

but the Constitution violated.” United States v. Rice, 746 F.3d 1074, 1081 (D.C. Cir. 2014)

(internal quotation marks omitted). In assessing whether a defendant’s Sixth Amendment right to

a speedy trial has been violated, the Court must consider four factors: “‘[l]ength of delay, the

reason for the delay, the defendant’s assertion of his right, and prejudice to the defendant.’” Id.

(alteration in original) (quoting Barker v. Wingo, 407 U.S. 514, 530 (1972)).

          Under the first factor, which “is to some extent a triggering mechanism,” Barker, 407 U.S.

at 530, a defendant must make a threshold showing that the delay between the accusation and the

trial was presumptively prejudicial, as “by definition, [a defendant] cannot complain that the

government has denied him a ‘speedy’ trial if it has, in fact, prosecuted his case with customary

promptness,” Doggett v. United States, 505 U.S. 647, 652 (1992). Without such a showing of

presumptive prejudice, there is “no necessity for inquiry into the other factors.” Barker, 407 U.S.

at 530.

           Given that less than six months have elapsed between the defendant’s arrest and the

present, the defendant cannot yet establish that the length of delay triggers a review of the other

Barker factors. See Doggett, 505 U.S. at 652 n.1 (“[P]ostaccusation delay [is] presumptively


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prejudicial at least as it approaches one year.”) (internal quotation marks omitted); see also United

States v. Ford, 155 F. Supp. 3d 60, 69 (“Sanders’s seven-month delay and Hager’s nine-month

delay do not violate the Sixth Amendment right to a speedy trial.”).

       Moreover, whether a delay is presumptively prejudicial depends upon the “peculiar

circumstances of the case,” and therefore requires judicial findings. Barker, 407 U.S. at 530-31;

see also United States v. Marshall, 669 F.3d 288, 295-96 (D.C. Cir. 2011) (requiring the district

court to make factual findings regarding defendant’s allegation that the government did not

overcome the presumption of prejudice for delays over one year).

       The defendant cannot show, and this Court should not find, that the government is not

“prosecut[ing] his case with customary promptness,” see Doggett, 505 U.S. at 652, given the

government’s diligent efforts to address unprecedentedly complex discovery issues. 3 See ECF No.

40. Even in cases involving detained defendants with substantially longer periods of pre-trial

delay, the D.C. Circuit has found no violation of the Sixth Amendment speedy trial guarantee. See,

e.g., Rice, 746 F.3d at 1082 (“[A]lthough Rice suffered lengthy [twenty-six month] ‘pretrial

incarceration’ and ‘anxiety and concern,’ he does not even attempt to argue that he suffered ‘the

most serious’ form of prejudice: the impairment of his defense.” (quoting Barker, 407 U.S. at

532)); United States v. Lopesierra-Gutierrez, 708 F.3d 193, 203 (D.C. Cir. 2013) (three-and-one-

half years of pretrial delay did not violate the Sixth Amendment). In United States v. Taylor, No.

18-198 (JEB), 2020 WL 7264070 (D.D.C. Dec. 10, 2020), Judge Boasberg recently denied a

defendant’s motion to dismiss for a speedy trial violation, finding that his Sixth Amendment right



       3
          Even assuming, arguendo, that the length of the delay gives rise to a “presumption of
prejudice,” the presumption is rebuttable, and the threshold requirement—the length of the delay—
is only “one factor among several.” Doggett, 505 U.S. at 652. As explained below, defendant has
not attempted to show the kind of actual prejudice that would establish a Sixth Amendment
violation.
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had not been infringed notwithstanding the fact that the defendant had at that point been detained

pending trial for 28 months.

       The second and third Barker factors—the reason for the delay and the defendant’s assertion

of his right to a speedy trial—also cut against Johnson. Only 172 days will have elapsed between

the filing of the indictment (April 30, 2021) and the last date of excludable time for Johnson under

the Speedy Trial Act (October 19, 2021). 4 Johnson did not invoke his right to a speedy trial until

the status conference on July 27. Up until July 27, Johnson had affirmatively waived time under

the Speedy Trial Act. Johnson and his co-defendant, Randolph, had also filed three motions that

automatically tolled the Speedy Trial clock under 18 U.S.C. § 3161(h)(1)(D) and (h)(6). 5 On July

27, the Court excluded time over Johnson’s objection in the interest of justice between July 27 and

September 23. As the Court subsequently explained in its Memorandum Opinion and Order (ECF

No. 37), “it is in the interests of justice as to both defendants to exclude a period of approximately

60 days,” so that the defendants “‘can review the materials being produced by the Government,

and both sides can engage in meaningful plea discussions.’” ECF No. 37, at 2-3 (emphasis in

original) (quoting United States v. Speight, 941 F. Supp. 2d 115, 118 (D.D.C. 2013)). The Court

also excluded the time between July 27 and September 23 with respect to Johnson under 18 U.S.C.

§ 3161(h)(6), finding that because Johnson was still joined with his co-defendant Randolph,

“‘reasonable exclusions of time for [Mr. Randolph] . . . will likewise delay [Mr. Johnson’s]




       4
         Only five days—between May 5 and May 11—have not been excluded under the Speedy
Trial Act.
       5
          On May 21, Randolph filed a “Motion to Revoke Detention Order” (ECF No. 24), which
was resolved on June 16. On June 7, Johnson filed a “Consent Motion to Modify Conditions of
Release” (ECF No. 30), which was resolved on June 8 (ECF No. 31). And on July 16, Johnson
filed a second “Motion to Modify Conditions of Release” (ECF No. 33), which was resolved on
July 27.
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speedy-trial clock.’” Id. at 3 (quoting Speight, 941 F. Supp. 2d at 118-19). On September 23,

Johnson filed the instant motion to sever. In sum, while 57 days have been excluded over the

defendant’s objection, those days were excluded by the Court in the interest of justice and pursuant

to 18 U.S.C. § 3161(h)(6), and Johnson “did not connect that interest to his severance argument”

until he filed the instant motion on September 23. Ford, 155 F. Supp. 3d at 69.

       Finally, with respect to the fourth Barker factor, prejudice, defendant complains about

“anxiety” caused by damage to his reputation because of the pending charges and “finances.” ECF

No. 43, at 6. He does not contend, much less demonstrate, that any delay has impeded his ability

to prepare his defense, which is the primary “prejudice” that the speedy trial right seeks to avoid.

See Barker, 407 U.S. at 532 (the “most serious” form of prejudice arising from delay is “the

possibility that the defense will be impaired”). Because Johnson “offers no explanation of how

the delay impaired [his] defense,” he “fails to show that [his] Sixth Amendment right to a speedy

trial was violated.” United States v. Bikundi, 926 F.3d 761, 780 (D.C. Cir. 2019); see also Mitchell

v. United States, 841 F. Supp. 2d 322, 330 (D.D.C. 2012) (no Barker prejudice where defendant

did not allege “witness disappearance or death and the inability of a witness to recall events

accurately due to the passage of time”). That’s because “the defendant cannot merely allege

possible prejudice, he must show that his defense was impaired such that he suffered actual and

substantial prejudice as a result of the delay.” United States v. Koller, 956 F.2d 1408, 1414 (7th

Cir. 1992); see also United States v. Omran, 641 F. App’x 427, 429 (5th Cir. 2016) (per curiam)

(unpublished) (defendant’s “vague and conclusory assertions are insufficient to show the extreme

prejudice or willfulness by the prosecution to delay his trial which would require an examination

of the Barker factors”).




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        “[A] defendant generally cannot establish a Sixth Amendment speedy trial claim, however

long the delay, if the government pursued the prosecution with ‘reasonable diligence,’ and the

defendant fails to show that the delay resulted in ‘specific prejudice to his defense.” United States

v. Parga-Rivas, 689 F. Supp. 2d 25, 29 (D.D.C. 2009) (quoting Doggett, 505 U.S. at 656); see also

Barker, 407 U.S. at 522 (rejecting a rigid rule because of the “unsatisfactorily severe remedy of

dismissal of the indictment”). This Court should hold that no Sixth Amendment violation has

occurred.

                B. There is minimal danger of spillover prejudice in this case, and any
                   potential prejudice can be cured with jury instructions.

        Johnson also argues that there is a serious risk of spillover prejudice because of an alleged

disparity in evidence between himself and Randolph. ECF No. 43, at 6-8. Johnson’s argument

fails for at least four reasons.

        First, there is no “dramatic disparity” of evidence between Johnson and Randolph. See

United States v. Slade, 627 F.2d 293, 309 (D.C. Cir. 1980). Put simply, this is not a case where

the government’s evidence against Randolph is “far more damaging” than the evidence against

Johnson. United States v. Bruner, 657 F.2d 1278, 1290 (D.C. Cir. 1981) (internal quotation marks

and citation omitted). As explained above, there is substantial—if not complete—overlap in the

evidence against both defendants. The open-source videos that depict the defendants’ joint assault

of Officer C.E. also depict Randolph’s separate assault of Officer D.C. just a few seconds later.

Any percipient witness that the government would call to prove Randolph’s assault of Officer D.C.

would also necessarily have witnessed and/or been present for the violent actions resulting in

Officer C.E.’s concussion. Moreover, Randolph’s post hoc statements about the events of January

6 being “f***ing fun,” ECF No. 43, at 7, even if only admissible against Randolph, are not likely

to inflame the jury more than Johnson’s contemporaneous statements on January 6 telling officers


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to “back the f*** off” and explaining that he wanted to “1776 this fence right here.” And to the

extent Randolph’s statement is damaging to Johnson, a limiting instruction would alleviate any

potential spillover prejudice.

         Second, because the defendants’ words and actions are recorded in open-source videos, the

jury has “‘no need to look beyond each defendant’s own words [and conduct] in order to convict.’”

United States v. Gaviria, 116 F.3d 1498, 1533 (D.C. Cir. 1997) (per curiam) (quoting United States

v. Anderson, 39 F.3d 331, 348 (D.C. Cir. 1994)). These open-source videos thereby minimize the

risk that the jury will not be able to compartmentalize the evidence against each defendant in this

case. See Celis, 608 F.3d at 846 (“‘[T]he danger of spillover prejudice is minimal when the

Government presents tape recordings of individual defendants.’”) (quoting Gaviria, 116 F.3d at

1533).

         Third, there is minimal risk of jury confusion where only two defendants are charged in

the indictment. See United States v. Mathis, 216 F.3d 18, 25 (D.C. Cir. 2000) (“[T]he risk of

spillover prejudice is less likely the fewer the defendants.”) (cleaned up); Gaviria, 116 F.3d at

1533 (no risk of prejudice with four charged defendants); Anderson, 39 F.3d at 348 (no risk of

prejudice with ten charged defendants).     Relatedly, there is minimal risk that the jury will use

evidence of Randolph’s guilt against Johnson because Johnson is not charged with assaulting

Officer D.C.

         Finally, even assuming, arguendo, that there are some disparities in evidence between

Johnson and Randolph, “any prejudice caused by joinder is best dealt with by instructions to the

jury to give individual consideration to each defendant.” United States v. Moore, 651 F.3d 30, 95

(D.C. Cir. 2011) (per curiam) (citation omitted). “[S]ome disparity in evidence does not compel

severance,” especially where the government presents “substantial and independent evidence of



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each defendant’s significant involvement” in the charged conduct. Id. at 95-96 (emphasis added)

(quoting United States v. Tarantino, 846 F.2d 1384, 1399 (D.C. Cir. 1988)). Given the substantial

and compelling evidence of guilt against each defendant, a jury instruction which explains that

each defendant’s guilt must be considered individually based upon the evidence that pertained to

him will cure any potential spillover prejudice. Ford, 155 F. Supp. 3d at 70.

     II. Excluding time under the Speedy Trial Act is justified under 18 U.S.C. § 3161(h)(7)
         and reasonable under 18 U.S.C. § 3161(h)(6).

        As set forth in the government’s Response to the Court’s Inquiry Regarding Application

of the Speedy Trial Act (hereinafter “September 22 Response”), ECF No. 42, which the

government incorporates herein by reference, several considerations support tolling of the Speedy

Trial Act period in this proceeding notwithstanding Johnson’s objection and request for a trial date.

The government will not reiterate the arguments made in its September 22 Response, except to

explain why an exclusion of time under § 3161(h)(6) is reasonable with respect to Johnson.

        The Speedy Trial Act excludes “[a] reasonable period of delay when the defendant is joined

for trial with a codefendant as to whom the time for trial has not run and no motion for severance

has been granted.” 18 U.S.C. § 3161(h)(6). As this Court previously noted, this provision means

that “an exclusion applicable to one defendant applies to all codefendants.” United States v.

Edwards, 627 F.2d 460, 461 (D.C. Cir. 1980) (per curiam); see also United States v. Van Smith,

530 F.3d 967, 970 (D.C. Cir. 2008) (“The Act also excludes delay caused by a co-defendant’s

pretrial proceedings.”); Speight, 941 F. Supp. 2d at 118 (“As long as he is joined to his co-

Defendants, reasonable exclusions of time for the others . . . will likewise delay Speight’s speedy-

trial clock.”).

        Johnson does not dispute that an exclusion applicable to Randolph also applies to him

under § 3161(h)(6). Instead, citing United States v. Darby, 744 F.2d 1508 (11th Cir. 1984), he


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contends any excludable delay imputed to him under § 3161(h)(6) would not be “reasonable.” 18

U.S.C. § 3161(h)(6).

       The excludable delay imputed to Johnson as a result of § 3161(h)(6) is reasonable,

especially when viewed in light of the strong preference for joint trials and preserving scarce

judicial resources. See, e.g., United States v. Franklin, 148 F.3d 451, 457 (5th Cir. 1998) (“The

utility of a joint trial is particularly compelling . . . [when] the government could be expected to

recite a single factual history, put on a single array of evidence, and call a single group of

witnesses.”) (internal quotation marks and citation omitted); United States v. Tranakos, 911 F.2d

1422, 1426 (10th Cir. 1990) (same). As the legislative history of the Speedy Trial Act confirms,

Congress intended that § 3161(h)(6) be liberally construed to promote judicial efficiency and avoid

the inefficient use of prosecutorial and judicial resources:

               The Senate Report states that “[t]he purpose of [§ 3161(h)(6)] is to
               make sure that [the Act] does not alter the present rules on severance
               of codefendants by forcing the Government to prosecute the first
               defendant separately or to be subject to a speedy trial dismissal
               motion under Section 3161.” S. Rep. No. 1021, 93d Cong., 2d Sess.
               38 (1974). Congress clearly intended that, where appropriate, joint
               trials of defendants should continue to be available as a means of
               promoting judicial efficiency by avoiding duplicative proof at
               successive trials. It thus intended that reasonable speedy trial time
               be excluded under Section 3161(h)([6]) when necessary to enable
               joint trials to go forward.

United States v. Pena, 793 F.2d 486, 489-90 (2d Cir. 1986) (first and third alterations in original);

United States v. Novak, 715 F.2d 810, 814 (3d Cir. 1983) (“The legislative history of section

3161(h)([6]) illustrates a strong congressional preference for joint trials and an intention that delays

resulting from the joinder of codefendants be liberally excluded.”); United States v. Garrett, 720

F.2d 705, 708-09 (D.C. Cir. 1983) (“Congress was concerned about the Speedy Trial Act’s impact

on government efforts to prosecute multidefendant cases. The exclusion in section 3161(h)([6])



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addressed this concern and was intended to avoid forcing the government to seek severance in a

multidefendant trial due solely to the Act’s time limitations.”).

       Moreover, there is no prejudice to the defendant as a result of excluding time under

§ 3161(h)(6). See Darby, 744 F.2d at 1519 (reasonableness of delay under § 3161(h)(6) may be

judged “in terms of prejudice to the defendant”). “With respect to the prejudice analysis, relevant

considerations include whether the delay impaired the [defendant’s] ability to defend himself or

resulted in excessive pretrial incarceration.” United States v. Stephens, 489 F.3d 647, 654 (5th Cir.

2007) (quoting United States v. Franklin, 148 F.3d 451, 457 (5th Cir. 1998)).

       Johnson has suffered neither form of prejudice. First, he is not detained. See United States

v. Vogl, 374 F.3d 976, 984 (10th Cir. 2004) (defendant’s pretrial release was “an ‘important’ [fact]

weighing in favor of finding a ‘reasonable’ delay under subsection (h)([6]”) (quoting Tranakos,

911 F.2d at 1426). Second, as explained above, Johnson has not alleged any impairment of his

ability to prepare a defense. Johnson’s “soul-crushing anxiety” of “being caged in the Age of Mass

Incarceration” and the reputational harm he has allegedly suffered after being publicly charged for

his conduct on January 6, see ECF No. 43, do not hamper or otherwise prejudice his ability to

prepare a defense.

       Defense counsel’s statements at the most recent status conference, and the demands made

in a September 10, 2021 discovery letter, underscore why excluding time under both § 3161(h)(6)

and § 3161(h)(7) is reasonable and justified. He continues to make exhaustive Rule 16 discovery

and Brady requests that implicate the full body of Capitol Breach materials in the government’s

possession. At the last status conference before this Court, defense counsel confirmed that his

client was “never going to waive Brady.” ECF No. 45, at 7. When asked whether he would want

to go to trial on the current state of discovery, defense counsel hedged, saying “I would go to trial,



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and if the government would continue to try to get discovery to us, I think that would be a workable

solution.” In his September 10, 2021 discovery letter, however, defense counsel made clear that

he is demanding “all photographs, videos, audio recordings, or any other type of recordings taken

in connection to this case,” including “the video footage from all interviews and officer interactions

with Mr. Johnson,” as well as “any photographs, video footage, or recorded communications,

including radio run communications, within the possession, custody, or control of the government

that are material to preparing Mr. Johnson’s defense.” He stated that “all photographs or video

footage obtained or confiscated by the government from outside sources during the investigation

of this case are material to the defense’s preparation.”

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        As the government previously explained regarding the enormous amount of information

that it must review in order to discharge its disclosure obligations, defendant’s dual demands for

full discovery and a short trial date are not compatible. Given defendant’s unwillingness to forego

further discovery and his wide-ranging discovery demands that implicate the full universe of

Capitol Breach materials in the government’s possession, an ends-of-justice continuance under

§ 3161(h)(7) is warranted to allow time for the government to complete its discovery plan,

including populating its Relativity and evidence.com databases, and making productions to the

defense’s equivalent databases. And because there is no prejudice to the defendant from this

continuance, this Court should also find that excluding time until December 1, 2021—as the Court

has already excluded with respect to Randolph—is reasonable under § 3161(h)(6).

                                             Respectfully submitted,

                                             CHANNING PHILLIPS
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                                      Certificate of Service

       I hereby certify that on October 8, 2021, I caused a copy of the foregoing memorandum to

be served on counsel of record via electronic filing.


                                              /s/ Hava Mirell
                                              HAVA MIRELL
                                              Assistant United States Attorney




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